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                                *REPLY TO NJ OFFICE


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                                                                     ***ORDER***


  December 14, 2022

  VIA CM/ECF
  The Honorable Andre M. Espinosa, USMJ
  United States District Court
  District of New Jersey
  Martin Luther King, Jr. Federal Building and United States Courthouse
  Court Room MLK 2D
  50 Walnut Street
  Newark, New Jersey 07102.

             Re:        Pallazi et al v. Cigna Health and Life Insurance Company
                        Civil Action No. 22-cv-6278

  Dear Judge Espinosa:

        This office represents plaintiffs in the above matter. Plaintiffs’ complaint was
  originally filed in the Superior Court of New Jersey and removed to this Court by
  the defendant, Cigna Health and Life Insurance Company (“Cigna”).

        Since the matter was removed, we have had an opportunity to review the
  summary plan description for the employee benefit plan applicable to this matter.
  Based on the foregoing, we respectfully request the opportunity to file a first
  amended complaint alleging two additional counts based on the Employee
  Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq.

        We have discussed this proposal with defendant’s counsel, and they consent
  to same.
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       Submitted herewith are two copies of plaintiffs’ Proposed First Amended
Complaint. Substantive changes to the pleading—other than formatting updates to
conform with the standards of this Court and correction of typographical errors in
the original pleading—are highlighted in the redlined version.

      Under Your Honor’s letter order entered on November 8, 2022, defendant’s
answer to the original complaint was due today. Of course, we consent to defendant
foregoing that filing and the Court establishing a reasonable time for Cigna to
respond to the First Amended Complaint instead.

       We appreciate the Court’s consideration of this request.

                                                  Respectfully submitted,

                                                  s/ Leonard E. Seaman
                                                  LEONARD E. SEAMAN

LES/me

Enc.

cc:    All counsel (via CM/ECF)
       client (via e-mail)

By December 20, 2022, Plaintiff shall file the amended complaint. Within 30 days of
the filing, Defendant shall answer, move, or otherwise respond to it. SO ORDERED.
Dated: December 15, 2022
/s/ André M. Espinosa
ANDRÉ M. ESPINOSA
United States Magistrate Judge




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